                   Case 19-12471                     Doc 19             Filed 08/19/19 Entered 08/19/19 10:37:40                                                 Desc Main
                                                                         Document     Page 1 of 68
 Fill in this information to identify your case:

 Debtor 1                   Peter G. Coumounduros
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Amy M. Coumounduros
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MASSACHUSETTS

 Case number           19-12471-FJB
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $             548,261.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $             504,248.28

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $          1,052,509.28

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $             565,425.83

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $             300,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $          1,533,219.79


                                                                                                                                     Your total liabilities $              2,398,645.62


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $                8,958.07

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $                8,839.23

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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 Debtor 1      Peter G. Coumounduros
 Debtor 2      Amy M. Coumounduros                                                        Case number (if known) 19-12471-FJB

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            300,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            300,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Peter G. Coumounduros
                            First Name                      Middle Name                        Last Name

 Debtor 2                   Amy M. Coumounduros
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number           19-12471-FJB
 (if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
                                                                                                                            $300,000.0
 2.1          Internal Revenue Service                               Last 4 digits of account number                                 0           $300,000.00                     $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a     community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Trust fund liability. Claim amount is approximate.


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 62
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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1      19th Capital Group                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          9702 E. 30th St.                                            When was the debt incurred?
          Indianapolis, IN 46229
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2      Advantage Truck Leasing                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 278                                                  When was the debt incurred?
          Shrewsbury, MA 01545
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3      Agustin Lleshi                                              Last 4 digits of account number                                                        $2,100.00
          Nonpriority Creditor's Name
          49-18 21 Ave.                                               When was the debt incurred?           4/19/2019
          Astoria, NY 11370
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 62
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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.4      Alfred Stefani                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          651 Washington Street                                       When was the debt incurred?           4/5/2019
          Canton, MA 02021
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5      Altin Bocova                                                Last 4 digits of account number                                                        $4,602.23
          Nonpriority Creditor's Name
          123 Roosevelt Ave.                                          When was the debt incurred?
          Norwood, MA 02062
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6      American Express                                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 360002                                             When was the debt incurred?
          Fort Lauderdale, FL 33336-0002
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.7      American Express                                            Last 4 digits of account number       1006                                              $986.55
          Nonpriority Creditor's Name
          P.O. Box 360002                                             When was the debt incurred?
          Fort Lauderdale, FL 33336-0002
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.8      Avidia Bank                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          42 Main St                                                  When was the debt incurred?
          Hudson, MA 01749
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Personal guarantor of business debt, Credit
           Yes                                                        Other. Specify     Card

 4.9      Barcleys                                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Card Services                                               When was the debt incurred?
          PO Box 8801
          Wilmington, DE 19899-8801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 0        Bernard Vruho                                               Last 4 digits of account number                                                        $3,464.50
          Nonpriority Creditor's Name
          30 Hildreth Place                                           When was the debt incurred?           4/19/2019
          Yonkers, NY 10704
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 1        Camana Capital                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          2111 Race Street                                            When was the debt incurred?
          Suite 2
          Jonesboro, AR 72401
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 2        Candido Salcedo                                             Last 4 digits of account number                                                         $800.00
          Nonpriority Creditor's Name
          111 Park Ave.                                               When was the debt incurred?           4/19/2019
          Paterson, NJ 07501
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 3        Canon Financial Services                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          14904 Collections Center Drive                              When was the debt incurred?
          Chicago, IL 60693-0149
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 4        Capital One                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          POBOX 71083                                                 When was the debt incurred?
          Charlotte, NC 28272-1083
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.1
 5        Capital One                                                 Last 4 digits of account number       4356                                          $10,423.01
          Nonpriority Creditor's Name
          POBOX 71083                                                 When was the debt incurred?
          Charlotte, NC 28272-1083
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 62
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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 6        Capital One Business                                        Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O Box 85184                                               When was the debt incurred?
          Richmond, VA 23285-5184
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.1
 7        Charles H. Rank                                             Last 4 digits of account number                                                        $2,497.00
          Nonpriority Creditor's Name
          7 Kokokehas Circle                                          When was the debt incurred?           4/19/2019
          Litchfield, NH 03052
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 8        Charles Long                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          820 Massachusetts Ave.                                      When was the debt incurred?           11/15/2018
          Apt. 402
          Cambridge, MA 02139
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 9        Chase                                                       Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Cardmember Services                                         When was the debt incurred?
          PO Box 5153
          Wilmington, DE 19886-5153
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.2
 0        Chase                                                       Last 4 digits of account number       2975                                            Unknown
          Nonpriority Creditor's Name
          Cardmember Services                                         When was the debt incurred?
          PO Box 5153
          Wilmington, DE 19886-5153
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.2
 1        Christopher Rank                                            Last 4 digits of account number                                                        $2,872.33
          Nonpriority Creditor's Name
          17 Mooreland St.                                            When was the debt incurred?           4/19/2019
          Milford, MA 03055
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.2
 2        Citi Business Card                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 183065                                             When was the debt incurred?
          Columbus, OH 43218-3065
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.2
 3        Citibank                                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O Box 6500                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.2
 4        City Check                                                  Last 4 digits of account number                                                     $15,068.21
          Nonpriority Creditor's Name
          220 Broadway                                                When was the debt incurred?
          Jersey City, NJ 07306
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.2
 5        Coconut                                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1003 Bishop Street                                          When was the debt incurred?
          Honolulu, HI 96813
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2
 6        Comm. of MA                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Division of Unemployment                                    When was the debt incurred?
          Assistance
          19 Staniford Street
          Chas. Hurley Bldg.
          Boston, MA 02114
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Listed for notice purposes only - disputed
           Yes                                                        Other. Specify     as to personal liability

 4.2
 7        Commonwealth of MA                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Child Support Enforcement                                   When was the debt incurred?
          PO Box 55140
          Boston, MA 02205-5140
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Kevin Case/$100 Month



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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.2
 8        Commonwealth of MA                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 7027                                                 When was the debt incurred?
          Boston, MA 02204
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.2      Commonwealth of MA Deptart of
 9        Revenue                                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 7049                                               When was the debt incurred?
          Boston, MA 02204
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 0        Commonwealth of Mass                                        Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          One Ashburton Place                                         When was the debt incurred?
          Boston, MA 02108-1512
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.3      Commonwealth of Taxation and
 1        Finance                                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          NYS Tax Dept. - RPC Hut                                     When was the debt incurred?
          PO Box 15166
          Albany, NY 12212-5166
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3      Complete Business Solutions
 2        Group                                                       Last 4 digits of account number                                                    $501,561.95
          Nonpriority Creditor's Name
          20 N. 3rd St.                                               When was the debt incurred?
          Philadelphia, PA 19106
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3      Complete Payment Recovery
 3        Services Inc.                                               Last 4 digits of account number                                                        $4,495.66
          Nonpriority Creditor's Name
          3500 5th St.                                                When was the debt incurred?
          Northport, AL 35476
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Albertons Checks




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.3      Complete Payment Recovery
 4        Services Inc.                                               Last 4 digits of account number                                                        $5,123.03
          Nonpriority Creditor's Name
          3500 5th St.                                                When was the debt incurred?
          Northport, AL 35476
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Walmart Checks


 4.3
 5        CR Express                                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          3 Avenue A                                                  When was the debt incurred?
          Carlstadt, NJ 07072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 6        Crossroads Equipment                                        Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Lease and Finance LLC                                       When was the debt incurred?
          9385 Haven Ave.
          Rancho Cucamonga, CA 91730
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.3
 7        Daimler Truck Financial                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Mercedes Benz Fin Ser USA LLC                               When was the debt incurred?
          PO Box 5261
          Carol Stream, IL 60197-5261
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 8        David M. Hampton                                            Last 4 digits of account number                                                        $2,911.16
          Nonpriority Creditor's Name
          202 Rockwood Drive                                          When was the debt incurred?           4/19/2019
          Saugus, MA 01906
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.3
 9        Dell Business Credit                                        Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Payment Processing Center                                   When was the debt incurred?
          PO Box 5275
          Carol Stream, IL 60197-5275
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.4
 0        Dell Commercial Credit                                      Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 689020                                               When was the debt incurred?
          Des Moines, IA 50368-9020
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit Card


 4.4      Department of Employment and
 1        Transport.                                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 9161                                                 When was the debt incurred?
          Boston, MA 02205-9161
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 2        Derrick Nelson                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          173 Dundee Ave.                                             When was the debt incurred?
          2nd Floor
          Paterson, NJ 07503
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.4
 3        Donna Mayo                                                  Last 4 digits of account number                                                        $1,972.20
          Nonpriority Creditor's Name
          100 Burton Ave.                                             When was the debt incurred?           4/19/2019
          Hasbrouck Heights, NJ 07604
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 4        Ducvan Nguyen                                               Last 4 digits of account number                                                        $3,250.50
          Nonpriority Creditor's Name
          75 E. Squantum St.                                          When was the debt incurred?           4/19/2019
          Quincy, MA 02171
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 5        Eagle Leasing Company                                       Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          258 Turnpike Road                                           When was the debt incurred?
          Southborough, MA 01772
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.4
 6        Eastern Bank                                                Last 4 digits of account number       0653                                            Unknown
          Nonpriority Creditor's Name
          P.O. Box 843335                                             When was the debt incurred?
          Boston, MA 02284
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit card


 4.4
 7        Edmond SFECI                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          12 Emerson Road                                             When was the debt incurred?
          Winthrop, MA 02152
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.4
 8        Elkins Guzman                                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Elkmara Trucking Corp                                       When was the debt incurred?
          9 William Street
          Milltown, NJ 08850
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.4
 9        Emiljano Transport Inc.                                     Last 4 digits of account number                                                        $8,267.86
          Nonpriority Creditor's Name
          470 Thomas Ave.                                             When was the debt incurred?
          Lyndhurst, NJ 07071
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 0        Enterprise Bank                                             Last 4 digits of account number       1767                                             $4,394.12
          Nonpriority Creditor's Name
          222 Merrimack St.                                           When was the debt incurred?
          Lowell, MA 01852
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 1        Enterprise Trust and Bank                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          222 Merrimack Street                                        When was the debt incurred?
          Lowell, MA 01852
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.5
 2        Ervin Lease LLC                                             Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 82                                                   When was the debt incurred?
          Toledo, IL 62468
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 3        Estate of Constance Kasfikis                                Last 4 digits of account number                                                     $91,500.00
          Nonpriority Creditor's Name
          c/o Rubin and Rudman LLP                                    When was the debt incurred?
          attn.: Meredith Stafford
          53 State Street, 15th Floor
          Boston, MA 02109
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 4        Etvin Mustafallari                                          Last 4 digits of account number                                                        $5,201.64
          Nonpriority Creditor's Name
          23-06 21st                                                  When was the debt incurred?
          Apt. 1
          Astoria, NY 11105
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify



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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.5
 5        Etvin Mustafallari                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          62-19 61 St                                                 When was the debt incurred?           12/5/2018
          2nd Floor
          Ridgewood, NY 11385
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 6        Exxon Mobil                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 688938                                               When was the debt incurred?
          Des Moines, IA 50368-8938
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 7        EZ Pass                                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Violations Processing Center                                When was the debt incurred?
          PO Box 15186
          Albany, NY 12212-5186
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.5
 8        Fakher Abidi                                                Last 4 digits of account number                                                        $8,411.44
          Nonpriority Creditor's Name
          82 Brick Kiln Road                                          When was the debt incurred?
          #1202
          Chelmsford, MA 01824
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.5
 9        First Insurance Funding Corp                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 66468                                                When was the debt incurred?
          Chicago, IL 60666-0468
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 0        Fleet Credit Card Service                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 15368                                                When was the debt incurred?
          Wilmington, DE 19886-5368
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.6
 1        Fleetway                                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          91 Hicks Ave.                                               When was the debt incurred?
          Medford, MA 02155
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 2        Flynn Petroleum LLC                                         Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          307 Hartford Turnpike                                       When was the debt incurred?
          Shrewsbury, MA 01545
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 3        Freightliner of NH INC                                      Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 1440                                                 When was the debt incurred?
          Londonderry, NH 03053
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.6
 4        Friendly Check Cashing Corp                                 Last 4 digits of account number                                                         $891.48
          Nonpriority Creditor's Name
          PO Box 9649                                                 When was the debt incurred?
          259 Broad Street
          Newark, NJ 07104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 5        Fuelrite LLC                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 1910                                                 When was the debt incurred?
          Waterbury, CT 06722
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 6        Fundamental Labor Strategies Inc                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          58 West Bridge Street                                       When was the debt incurred?
          New Hope, PA 18938
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.6
 7        Funding Strategy Partners, LLC                              Last 4 digits of account number                                                    $612,421.44
          Nonpriority Creditor's Name
          2865 S. Eagle Road                                          When was the debt incurred?
          #306
          Newtown, PA 18940
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Personal guarantor of business debt.


 4.6
 8        Georgia Dept of Revenue                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1800 Century Blvd, NE                                       When was the debt incurred?
          Atlanta, GA 30345
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.6
 9        GI Newco LLC                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          145 Van Norden Road                                         When was the debt incurred?
          Reading, MA 01867
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.7
 0        Golden State Business Funding                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          410 F Street                                                When was the debt incurred?
          Davis, CA 95616
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 1        Hale Trailer Brake and Wheel, Inc                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 1400                                                 When was the debt incurred?
          Voorhees, NJ 08043
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 2        Hector Nunez                                                Last 4 digits of account number                                                        $1,816.00
          Nonpriority Creditor's Name
          22 Van Renselaer St.                                        When was the debt incurred?           4/19/2019
          Apt. 1
          Belleville, NJ 07109
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.7
 3        Hop Energy LLC                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Gerald Shulman, Esq.                                    When was the debt incurred?
          591 North Avenue
          Door 2, 1st Floor
          Wakefield, MA 01880
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 4        Huong Phan, Senior Investigator                             Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Office of Attorney General                                  When was the debt incurred?
          100 Cambridge Street, 12th Floor
          Boston, MA 02108
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 5        Ibis Capital/Nu Growth Capital                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Attn.: Dan Freeman                                          When was the debt incurred?
          One Blue Hill Plaza
          Suite 1514
          Pearl River, NY 10965
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify


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 4.7
 6        Innovative Transport Solutions                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1151 North Wood Dale Road                                   When was the debt incurred?
          Wood Dale, IL 60191
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 7        IRS United States Treasury                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1 Montvale Ave.                                             When was the debt incurred?
          Attn.: Greg Daher
          Stoneham, MA 02180
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.7
 8        Jacinto Maldonado                                           Last 4 digits of account number                                                        $2,400.00
          Nonpriority Creditor's Name
          252 Marvin Ave.                                             When was the debt incurred?           4/19/2019
          Hackensack, NJ 07601
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.7
 9        Jacob Walters                                               Last 4 digits of account number                                                        $2,439.60
          Nonpriority Creditor's Name
          92 Pollard St.                                              When was the debt incurred?           4/19/2019
          North Billerica, MA 01862
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 0        James Sayer                                                 Last 4 digits of account number                                                        $1,992.40
          Nonpriority Creditor's Name
          2812 Mark Twain Way                                         When was the debt incurred?           4/19/2019
          Mahwah, NJ 07430
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 1        Jeremy Iturbe                                               Last 4 digits of account number                                                        $1,923.08
          Nonpriority Creditor's Name
          16 Beaver Lane                                              When was the debt incurred?           4/19/2019
          Flanders, NJ 07836
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.8
 2        Jeydi Rivera                                                Last 4 digits of account number                                                        $1,435.32
          Nonpriority Creditor's Name
          1709 Kerrigan Ave.                                          When was the debt incurred?           4/19/2019
          Apt. 3
          Union City, NJ 07087
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 3        Joel Garcia                                                 Last 4 digits of account number                                                        $1,499.30
          Nonpriority Creditor's Name
          65 Fort Washington Ave.                                     When was the debt incurred?           4/19/2019
          #21
          New York, NY 10032
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 4        Joel Wendel                                                 Last 4 digits of account number                                                        $4,743.20
          Nonpriority Creditor's Name
          14 Karen Road                                               When was the debt incurred?           4/19/2019
          Woburn, MA 01801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.8
 5        John Grayson                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          145 Van Norden Road                                         When was the debt incurred?
          Reading, MA 01867
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 6        John Rank                                                   Last 4 digits of account number                                                        $6,499.87
          Nonpriority Creditor's Name
          17 Mooreland St.                                            When was the debt incurred?           4/19/2019
          Milford, NH 03055
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.8
 7        John T. Dean                                                Last 4 digits of account number                                                        $6,986.00
          Nonpriority Creditor's Name
          64 S. Central Street                                        When was the debt incurred?           4/19/2019
          Bradford, MA 01835
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.8
 8        Jose Berrios                                                Last 4 digits of account number                                                        $2,718.55
          Nonpriority Creditor's Name
          89 Winthrop Street                                          When was the debt incurred?
          Newark, NJ 07104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     4/19/2019


 4.8
 9        Jose Herrera                                                Last 4 digits of account number                                                        $1,600.00
          Nonpriority Creditor's Name
          1400 Central Ave.                                           When was the debt incurred?           4/19/2019
          Apt. 2
          Union City, NJ 07087
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 0        Jose Marrero                                                Last 4 digits of account number                                                        $3,821.16
          Nonpriority Creditor's Name
          727 Gates Terrace                                           When was the debt incurred?           4/19/2019
          Union, NJ 07083
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.9
 1        Jose Rivera                                                 Last 4 digits of account number                                                        $1,378.10
          Nonpriority Creditor's Name
          45 Aspen Place                                              When was the debt incurred?           4/19/2019
          Apt. 1E
          Passaic, NJ 07055
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 2        Joseph Sullivan                                             Last 4 digits of account number                                                         $800.00
          Nonpriority Creditor's Name
          125 Vreeland Ave.                                           When was the debt incurred?           4/19/2019
          South Hackensack, NJ 07606
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 3        Juan Chicas                                                 Last 4 digits of account number                                                        $7,566.56
          Nonpriority Creditor's Name
          31 Richard Circle                                           When was the debt incurred?           4/19/2019
          Woburn, MA 01801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.9
 4        Kelly Moloney                                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          923 Wexford Way                                             When was the debt incurred?           8/4/2018
          Auburn, GA 30011
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 5        Kenneth Gately                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          33 Sherburne Ave.                                           When was the debt incurred?           9/28/2018
          #33
          Tyngsboro, MA 01879
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 6        Kevin Mcdonough                                             Last 4 digits of account number                                                        $2,400.00
          Nonpriority Creditor's Name
          21 Cross Street                                             When was the debt incurred?           4/19/2019
          Allenstown, NH 03275
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.9
 7        Larry Cabana                                                Last 4 digits of account number                                                        $2,355.40
          Nonpriority Creditor's Name
          111 Brickyard Road                                          When was the debt incurred?           4/19/2019
          Unit D1
          Athol, MA 01331
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 8        Law Office of Michael Zola                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Smith Oil                                                   When was the debt incurred?
          607 North Ave.
          Door 18
          Wakefield, MA 01880
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.9
 9        Lending USA                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 206536                                               When was the debt incurred?
          Dallas, TX 75320-6536
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify



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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 00       Leon Arapi                                                  Last 4 digits of account number                                                        $1,600.00
          Nonpriority Creditor's Name
          7 Ascadilla Road                                            When was the debt incurred?           4/19/2019
          Worcester, MA 01606
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 01       Mamadou Bah                                                 Last 4 digits of account number                                                     $10,245.47
          Nonpriority Creditor's Name
          792 Western Ave. Apt. 3                                     When was the debt incurred?
          Lynn, MA 01905
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 02       Marcus Bailey                                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          115 Trenton Street                                          When was the debt incurred?           2/10/2019
          Boston, MA 02128
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 03       Mark Taronji                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          16 Harbor Terrace                                           When was the debt incurred?           3/6/2019
          Apt. 26
          Perth Amboy, NJ 08861
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 04       Marlin Business Bank                                        Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          300 Fellowship Road                                         When was the debt incurred?
          Mount Laurel, NJ 08054
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 05       Mass DOR - Child Support Division                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 55140                                                When was the debt incurred?
          Boston, MA 02205-5140
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 06       Massachusetts Dep. Revenue                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 7009                                               When was the debt incurred?
          Boston, MA 02204
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 07       Massachusetts Dep. Revenue                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 7027                                               When was the debt incurred?
          Boston, MA 02204
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1      Massachusetts Dep. Revenue
 08       Collections                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 7021                                               When was the debt incurred?
          Boston, MA 02204
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.1
 09       Meadowland Fuel Stop LLC                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          758 Paterson Plank Road                                     When was the debt incurred?
          East Rutherford, NJ 07073
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 10       Michael Kelleher                                            Last 4 digits of account number                                                        $1,549.08
          Nonpriority Creditor's Name
          11 Cady Street                                              When was the debt incurred?           4/19/2019
          Billerica, MA 01821
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 11       Milestone Trailer Leasing                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          3050West Clay St.                                           When was the debt incurred?
          Suite 300
          Saint Charles, MO 63301
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 12       MK and Associates                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 700                                                  When was the debt incurred?
          Marion, MA 02738
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 13       MTA EZ Pass                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 15187                                                When was the debt incurred?
          Albany, NY 12212-5187
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 14       Murphy and King                                             Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Professional Corporation                                    When was the debt incurred?
          One Beacon St.
          Boston, MA 02108
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 15       Nancy Desmarais                                             Last 4 digits of account number                                                        $4,136.14
          Nonpriority Creditor's Name
          7 Pelham Street                                             When was the debt incurred?           4/19/2019
          North Billerica, MA 01862
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 16       National Truck ERS                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          11 Midstate Drive                                           When was the debt incurred?
          Suite 10
          Auburn, MA 01501
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 17       Nattanael Tejada                                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          220 Hope Ave.                                               When was the debt incurred?           3/1/2019
          Passaic, NJ 07055
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 18       New York Unity Factor, LLC                                  Last 4 digits of account number                                                     $75,763.16
          Nonpriority Creditor's Name
          85 Broad Street                                             When was the debt incurred?
          27th Floor
          New York, NY 10004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 19       Nissan Motor Acceptance Corp                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 740596                                               When was the debt incurred?
          Cincinnati, OH 45274-0596
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 20       Northeast Trailer Remarketing                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          21 Avery Road                                               When was the debt incurred?
          Cranston, RI 02910
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 21       NY Commissioner of MV                                       Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          NYS Dept of MV/MV-15 Processing                             When was the debt incurred?
          6 Empire State Plaza
          Albany, NY 12228
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 22       NYS Corporation Tax                                         Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Processing Unit                                             When was the debt incurred?
          Albany, NY 12201-2056
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 23       NYS Dept of Taxation and Finance                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 22056                                                When was the debt incurred?
          Albany, NY 12201-2056
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 24       Ohana America LLC                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1003 Bishop St.                                             When was the debt incurred?
          Honolulu, HI 96813
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 25       Oumar Ba                                                    Last 4 digits of account number                                                        $6,378.96
          Nonpriority Creditor's Name
          9 Kings Hill Drive                                          When was the debt incurred?
          Lynn, MA 01905
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 26       PA Dept of Revenue                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Bureau of Corporation Taxes                                 When was the debt incurred?
          PO Box 280422
          Harrisburg, PA 17128-0422
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 27       Par Funding                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          141 N. 2nd St.                                              When was the debt incurred?
          Philadelphia, PA 19106
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 28       Paul Dinardo                                                Last 4 digits of account number                                                        $1,350.00
          Nonpriority Creditor's Name
          269 Treble Cove Road                                        When was the debt incurred?           4/19/2019
          North Billerica, MA 01862
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 29       Pedro Echavarria                                            Last 4 digits of account number                                                        $1,913.49
          Nonpriority Creditor's Name
          441 Rosehill Place                                          When was the debt incurred?
          Apt. 7
          Elizabeth, NJ 07202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 30       Pedro Garay                                                 Last 4 digits of account number                                                        $3,358.40
          Nonpriority Creditor's Name
          25 Sandra Lane                                              When was the debt incurred?           4/19/2019
          Bloomingdale, NJ 07403
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 31       Penske Truck Leasing Company                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 827380                                               When was the debt incurred?
          Philadelphia, PA 19182-7380
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 32       Phillip Laaguiby                                            Last 4 digits of account number                                                        $4,160.00
          Nonpriority Creditor's Name
          8 River Road                                                When was the debt incurred?           4/19/2019
          Apt. 1E
          Nutley, NJ 07110
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 33       PLS Financial Solutions of MA Inc                           Last 4 digits of account number                                                        $6,511.08
          Nonpriority Creditor's Name
          Attn.: Treasury                                             When was the debt incurred?
          800 Jorie Blvd
          #200
          Oak Brook, IL 60523
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 34       Premier Trailer - File 20695                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          5 Saldutti Law Group                                        When was the debt incurred?
          Cherry Hill, NJ 08034
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 35       Ralph Allen                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          207 Hillside Ave.                                           When was the debt incurred?           7/24/2018
          #1
          Glen Ridge, NJ 07028
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify



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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 36       Rapid Capital Inc                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          1850 W. Wayzata Blvd                                        When was the debt incurred?
          Suite 150
          PO Box 298
          Long Lake, MN 55356
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 37       Receivables Management LLC                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 331                                                  When was the debt incurred?
          Mohawk, NY 13407
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 38       Richard Barnes                                              Last 4 digits of account number                                                        $5,075.80
          Nonpriority Creditor's Name
          575 Lower State Road                                        When was the debt incurred?
          Chalfont, PA 18914
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 39       Richard Gusmano/Fiscal Resources                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          11 Deauville Court                                          When was the debt incurred?
          Northport, NY 11768
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 40       Robert Desmarais                                            Last 4 digits of account number                                                        $1,337.22
          Nonpriority Creditor's Name
          7 Pelham Street                                             When was the debt incurred?           4/19/2019
          North Billerica, MA 01862
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 41       Robert Feige                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          46 Cartwright Road                                          When was the debt incurred?
          Wellesley, MA 02482
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 42       Rolando Laracuente                                          Last 4 digits of account number                                                        $1,400.00
          Nonpriority Creditor's Name
          105 Caldwell Ave.                                           When was the debt incurred?
          Paterson, NJ 07501
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 43       S&D Trucking Company LLC                                    Last 4 digits of account number                                                        $4,078.22
          Nonpriority Creditor's Name
          90 Rangeway Road                                            When was the debt incurred?
          Suite 208
          North Billerica, MA 01862
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 44       Sheldon J. Burnett, Esq.                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          17301 Biscayne Boulevard                                    When was the debt incurred?
          Suite 903
          North Miami Beach, FL 33160
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 45       Small Business Administration                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 740192                                               When was the debt incurred?
          Atlanta, GA 30374-0192
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 46       Smith Oil Company, Inc.                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          267 Main Street                                             When was the debt incurred?
          Reading, MA 01867
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 47       Sprint                                                      Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 4181                                                 When was the debt incurred?
          Carol Stream, IL 60197-4181
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 48       State of New Jersey - CBT                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Division of Taxation                                        When was the debt incurred?
          PO Box 666
          Trenton, NJ 08646-0666
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 49       Target                                                      Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Target Card Services                                        When was the debt incurred?
          P.O. Box 660170
          Dallas, TX 75266-0170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Credit card


 4.1
 50       Teo Berroa                                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          177 Starr Street                                            When was the debt incurred?           1/12/2019
          Brooklyn, NY 11237
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 51       The Check Cashing Place                                     Last 4 digits of account number                                                        $4,095.91
          Nonpriority Creditor's Name
          10 Elizabeth Street                                         When was the debt incurred?
          #201
          River Edge, NJ 07661
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 52       The Eagle Leasing Company                                   Last 4 digits of account number       1054                                          $27,252.55
          Nonpriority Creditor's Name
          PO Box 923                                                  When was the debt incurred?
          Orange, CT 06477
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Possible personal guarantor of business
           Yes                                                        Other. Specify     debt

 4.1
 53       The Interface Financial Group                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          112 West Plain St.                                          When was the debt incurred?
          Wayland, MA 01778
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 54       The Volokas Law Firm PC                                     Last 4 digits of account number                                                        $1,657.05
          Nonpriority Creditor's Name
          Attn.: John Boulous Esq.                                    When was the debt incurred?
          120 Bay Ridge Ave.
          Brooklyn, NY 11220
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 55       The Volokas Law Firm PC                                     Last 4 digits of account number                                                        $4,375.64
          Nonpriority Creditor's Name
          Attn.: John Boulous Esq.                                    When was the debt incurred?
          120 Bay Ridge Ave.
          Brooklyn, NY 11220
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 56       Tri State Truck Center Inc                                  Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          411 Hartford Tpke                                           When was the debt incurred?
          Shrewsbury, MA 01545
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 57       Unknown                                                     Last 4 digits of account number                                                        $7,000.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Fee owed to DMB (Cargo)


 4.1
 58       Wael Abousekeh                                              Last 4 digits of account number                                                        $2,565.45
          Nonpriority Creditor's Name
          32 Digital Drive                                            When was the debt incurred?           4/19/2-19
          Unit 112
          Nashua, NH 03062
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 59       Wagon Leasing LLC                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 660206                                               When was the debt incurred?
          Birmingham, AL 35266-0206
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 60       Walter A. Rich                                              Last 4 digits of account number                                                        $5,032.42
          Nonpriority Creditor's Name
          22 Stonehedge Circle                                        When was the debt incurred?           4/19/2019
          Billerica, MA 01821
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1      Welch Welding and Truck
 61       Equipment Inc.                                              Last 4 digits of account number                                                         $985.00
          Nonpriority Creditor's Name
          164 Middlesex St.                                           When was the debt incurred?
          North Chelmsford, MA 01863
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community                Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Possible personal guarantor of business
           Yes                                                        Other. Specify     debt.

 4.1
 62       West Plain Capital                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          112 West Plain St.                                          When was the debt incurred?
          Wayland, MA 01778
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify     Personal guarantor of business debt




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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 63       Wex Inc                                                     Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Exxon Mobil Universal Online                            When was the debt incurred?
          PO Box 638
          Portland, ME 04104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 64       WG Financing Inc/WG Prime                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Ciryl Ezkenazi, CEO                                     When was the debt incurred?
          141 NE 3rd Ave.
          Miami, FL 33132
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 65       WG Prime                                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Attn.: Michael Azoulay, CEO                                 When was the debt incurred?
          990 Biscayne Blvd
          Miami, FL 33132
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify



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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

 4.1
 66       William Colon                                               Last 4 digits of account number                                                        $2,615.40
          Nonpriority Creditor's Name
          19B Bates Street                                            When was the debt incurred?           4/19/2019
          Devens, MA 01454
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 67       William Rodriguez                                           Last 4 digits of account number                                                        $1,192.50
          Nonpriority Creditor's Name
          108-33 Corona Ave.                                          When was the debt incurred?           4/19/2019
          #151
          Corona, NY 11368
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify

 4.1
 68       Williams Scotsman Inc                                       Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 91975                                                When was the debt incurred?
          Chicago, IL 60693-1975
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                              Contingent
           Debtor 2 only                                              Unliquidated
           Debtor 1 and Debtor 2 only                                 Disputed
           At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                     Student loans
          debt                                                         Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

           No                                                         Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                        Other. Specify




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 4.1
 69        Woodhill Capital                                           Last 4 digits of account number                                                       Unknown
           Nonpriority Creditor's Name
           14 South Cayuga Road                                       When was the debt incurred?
           Williamsville, NY 14221
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community                Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify     Personal guarantor of business debt


 4.1
 70        Yellowstone                                                Last 4 digits of account number                                                       Unknown
           Nonpriority Creditor's Name
           1 Evertrust Plaza                                          When was the debt incurred?
           14th Floor
           Jersey City, NJ 07302
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                    Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify

 4.1
 71        Zwicker and Associates                                     Last 4 digits of account number                                                       Unknown
           Nonpriority Creditor's Name
           80 MInuteman Road                                          When was the debt incurred?
           Andover, MA 01810
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                             Contingent
            Debtor 2 only                                             Unliquidated
            Debtor 1 and Debtor 2 only                                Disputed
            At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                    Student loans
           debt                                                        Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

            No                                                        Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                       Other. Specify     Credit Card

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

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 Debtor 2 Amy M. Coumounduros                                                                           Case number (if known)         19-12471-FJB

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Aivi Nguyen, Bowditch & Dewey                                 Line 4.116 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 LLP                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 311 Main Street
 PO Box 15156
 Worcester, MA 01615
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Andrew H. Cahill, Esq.                                        Line 4.74 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Asst. Atty General                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Fair Labor Division
 100 Cambridge Street, 12th Floor
 Boston, MA 02108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Blake James Godbout, Godbout                                  Line 4.112 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 Law PLLC                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 33 Broad Street
 11th Floor
 Boston, MA 02109
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Daniel Karger, Karger Law Offices                             Line 4.45 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 40 Washington Street                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 200
 Wellesley, MA 02481
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Frank Smith, III                                              Line 4.131 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 6 Beacon Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 725
 Boston, MA 02108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gretchen Geisser, Fitzpatrick,                                Line 4.66 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Lentz & Bubba                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 4001 Schoolhouse Lane
 Center Valley, PA 18034
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Howard B. D'Amico, Esq.                                       Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 33 Waldo Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Worcester, MA 01608
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jane Solomon, Esq.                                            Line 4.142 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 100 Hamilton Plaza                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1402
 Paterson, NJ 07505
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Karger Law Offices                                            Line 4.152 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 attn.: Daniel M. Karger                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 40 Washington St., Suite 200
 Wellesley Hills, MA 02481
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Office of Michael Zola                                    Line 4.146 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 607 North Ave.

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 Door 18                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wakefield, MA 01880
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michael J. Dougherty                                          Line 4.67 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 c/o Weltman, Weinberg, and Reis,                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 CO, LPA
 170 S. Independence Mall W.
 Suite 874W
 Philadelphia, PA 19106-2614
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Murphy Peluso, LLC                                            Line 4.129 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 attn.: Robert Peluso                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 437 60th St.
 West New York, NJ 07093
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New York Unity Factor, LLC                                    Line 4.118 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 141 N. 2nd St.                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19106
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Norman M. Valz                                                Line 4.118 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 85 Broad Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 27th Floor
 New York, NY 10004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pamela Ashcraft, Tucker Albin                                 Line 4.52 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1702 North Collins Blvd                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 Richardson, TX 75080
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 R. Mark Seitsinger                                            Line 4.67 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Kream and Kream                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 536 Broad Street
 Suite 5
 East Weymouth, MA 02189
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Receivables Management                                        Line 4.169 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 Attn.: John Kenney                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 331
 Mohawk, NY 13407
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robert Saldutti, Esq.                                         Line 4.134 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 % Saldutti Law Group                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 800 North Kings Highway
 Suite 300
 Cherry Hill, NJ 08034
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ron Gearhart, Greenberg,                                      Line 4.163 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 Grant & Richards, INC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 571811
 Houston, TX 77257-1811

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 Debtor 2 Amy M. Coumounduros                                                                             Case number (if known)        19-12471-FJB

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ross Hartog, Chapter 7 Trustee for                            Line 4.165 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 WG                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 101 NE Third Avenue
 Suite 1210
 Fort Lauderdale, FL 33301
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rubin & Rudman, LLP                                           Line 4.53 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 attn.: Meredith Stafford                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 53 State Street, 15th Floor
 Boston, MA 02109
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stuart Lippman & Associates                                   Line 4.59 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 5447 East 5th Street                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 110
 Tucson, AZ 85711-2345
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Thomas Kenney, Pierce & Mandell                               Line 4.71 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 11 Beacon Street
 Suite 800
 Boston, MA 02108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Walter Lupan, Murphy & Lupan P.A.                             Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 5 Commonwealth Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Natick, MA 01760
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Walter Lupan, Murphy & Lupan P.A.                             Line 4.156 of (Check one):               Part 1: Creditors with Priority Unsecured Claims
 5 Commonwealth Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Natick, MA 01760
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wegner, Wegner & Ward                                         Line 4.42 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 attn.: Peter Ward                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 79 Union Blvd
 Totowa, NJ 07512
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                 300,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                 300,000.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00

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 Debtor 2 Amy M. Coumounduros                                                                        Case number (if known)    19-12471-FJB

 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                    0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             1,533,219.79

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             1,533,219.79




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